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 2                                            KING COUNTY
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                                         CASE #: 21-2-00228-1 SEA
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 5                        SUPERIOR COURT OF THE STATE OF WASHINGTON
                                    IN AND FOR KING COUNTY
 6

 7   DAMILOLA ADEKUNLE and FAYAH
     TOLNO, a married couple;                              NO.
 8
                            Plaintiff,                     COMPLAINT
 9
            v.
10
     THE GEO GROUP, INC., a foreign profit
11   corporation, and SHERI W. MALAKHOVA,
     M.D., an individual;
12                        Defendants.

13
                                         I.         INTRODUCTION
14
            COME NOW the above-named Plaintiffs, by and through their attorneys of record,
15
     Matthew J. Wurdeman, Samuel J. Daheim, and Jackson R. Pahlke of Connelly Law Offices,
16
     PLLC, and by way of claim aver and allege on personal knowledge as to their own actions,
17
     and on information and belief as to all other matters, as follows:
18
                                              II.     PARTIES
19
            1.      Defendant THE GEO GROUP INC., (“GEO”) is a publicly traded, for-profit
20
     business operated in Washington state. GEO has owned and operated the Northwest Detention
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     Center (“NWDC”), which was recently renamed the Northwest ICE Processing Center
22
     (“NWIPC”) and which is located at 1623 E. J. St., Tacoma, WA, since 2005. The NWDC is a
23

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 1   privately owned and operated Immigration detention center with capacity to hold

 2   approximately 1,575 people. On information and belief, GEO contracts with United States

 3   Immigration and Customs Enforcement (“ICE”) for the detention of adult civil detainees who

 4   await resolution of decisions regarding their immigration status.             On its website GEO

 5   advertises itself as “ensur[ing] the delivery of a full complement of high-quality services,

 6   including: . . . correctional health and mental health care. . . .”1 GEO staff at NWDC failed to

 7   properly treat, evaluate, assess, diagnose, and otherwise respond to Plaintiff’s complaints of

 8   telltale signs and symptoms of bacterial meningitis. Instead, GEO staff locked Plaintiff alone

 9   in a cold room without access to a bathroom or assistance of staff as she suffered extreme pain

10   associated with her illness and was refused treatment or proper care. Eventually, she was sent

11   to a hospital where she received a delayed diagnosis of severe bacterial meningitis. But it was

12   far too late, due to GEO’s negligence, and now Plaintiff and her husband must deal with the

13   severe pain and complications as a result.

14             2.      Defendant SHERI W. MALAKHOVA, M.D., is a physician residing at 2541

15   Lynwood Ave., NE, Renton, WA 98056 who worked at the NWDC clinic and was involved

16   in Plaintiff Adekunle’s evaluation for symptoms relating to her bacterial meningitis. Dr.

17   Malakhova electrically co-signed off on a number of medical records relating to Ms.

18   Adekunle’s treatment, including the order transferring her to St. Joseph’s Medical Center.

19   The extent of her involvement in assessing, evaluating, or treating Ms. Adekunle is unknown

20   at this time and will be revealed through discovery.

21             3.      Plaintiffs DAMILOLA ADEKUNLE and FAYAH TOLNO are a married

22   couple currently residing in Aubrey, TX. In January, 2019, Ms. Adekunle was being detained

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     1
         https://www.geogroup.com/Management_and_Operations
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 1   at NWDC awaiting a decision regarding her immigration status as it was being processed.

 2   During this time, she began experiencing severe symptoms of bacterial meningitis. She

 3   complained of these symptoms as they became unbearable to NWDC staff, who did nothing

 4   to appropriately assess, evaluate, or treat her worsening condition. She was thrown into a

 5   cold room while she was screaming in agony. Only after her body temperature rose to 104

 6   degrees and losing consciousness, she was eventually transferred to a hospital. As a result of

 7   the delayed diagnosis and failure to treat, Ms. Adekunle has experienced and will continue to

 8   experience severe symptoms relating to her bacterial meningitis for the rest of her life.

 9                                III.    JURISDICTION AND VENUE

10          4.      This Court has original subject matter jurisdiction pursuant to the Constitution

11   of the State of Washington, Art. 4, § 6.

12          5.      Venue is proper in King County pursuant to RCW 4.12.025 (1) as one or more

13   of the Defendants reside in King County.

14                                IV.     STATEMENT OF FACTS

15          6.      In January of 2019, Damilola Adekunle was being held at NWDC pending the

16   final decision regarding the processing of her immigration status into the United States.

17          7.      On January 21, 2019, Damilola first began experiencing severe migraines,

18   itchiness in her eyes and face, and extreme pain and discomfort all over her body. She

19   presented to the clinic at the NWDC, where she was given a Benadryl. Her symptoms did not

20   subside.

21          8.      As the pain became unbearable and Damilola became increasingly ill, she was

22   seen again the following day, January 22, for her persistent symptoms. She was then given

23   hydroxyzine, an antihistamine, and ketorolac, in an attempt to reduce her now intolerable pain

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 1   and body aches.

 2          9.      Later that evening, January 22, Damilola was found lying in her bunk crying in

 3   pain, hyperventilating, and in excruciating pain. Nothing was done.

 4          10.     On January 23, the following morning, Damilola was seen again at the clinic

 5   where she presented with a pulse of 130 and a fever of 104 degrees.                       This was at

 6   approximately 10:00am. Damilola was finally assessed by a physician nearly 6 hours later,

 7   when it was determined she should be transferred to the emergency room at St. Joseph’s

 8   Hospital.

 9          11.     A transfer note was entered at 3:46pm by Dr. Malakhova, which indicated

10   “dehydration, possible meningitis, influenza, or PE.”      Damilola was sent out via 911

11   emergency services due to the “complexity of patient symptoms” pursuant to the transfer

12   ordered by Dr. Malakhova.

13          12.     At 4:49pm that afternoon Damilola was seen at St. Joseph’s Hospital where

14   she was examined, where it was noted that she had pain with movement of the neck. A

15   lumbar puncture was performed which revealed Damilola had cloudy cerebrospinal fluid

16   (CSF). She was admitted and hospitalized from January 23, 2019 through February 1, 2019

17   for sepsis secondary to bacterial Neisseria meningitis.

18          13.     On February 2, Damilola was prematurely released back to the NWDC on the

19   demands of the detention center personnel.

20          14.     Damilola now suffers from long-term effects of the infection and delayed

21   diagnosis, such as severe and frequent migraines, vision loss, intermittent loss of

22   consciousness, cognitive issues, such as memory loss and trouble concentrating, mental

23   fatigue and fogginess, debilitating back pain, persistent illness, and a number of other long-

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 1   term, painful symptoms which commonly present in patients who have recovered from

 2   delayed-treatment bacterial meningitis and a resulting case of severe sepsis.

 3                V.      CAUSES OF ACTION – NEGLIGENCE, SPOUSAL LOSS OF
                                           CONSORTIUM
 4
            15.        All preceding claims, statements, and allegations above are re-incorporated by
 5
     reference.
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            16.        Defendants owed a duty of reasonable and ordinary care to Damilola Adekunle
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     as detainee and medical patient.
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            17.        This duty exists because detainees, by virtue of being detained, are unable to
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     obtain medical care for themselves.
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            18.        Defendants breached their duty, and were negligent, when they failed to have
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     and follow proper training, policies, and procedures on assessment and evaluation of persons
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     with apparent medical needs or in the midst of a medical emergency.
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            19.        Defendants breached their duty, and were negligent, when they failed to have
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     and follow proper training, policies, and procedures on the provision of reasonable and
15
     necessary medical care and treatment to detainees.
16
            20.        Defendants breached their duty, and were negligent, when they failed to
17
     properly assess and treat Damilola Adekunle for acute bacterial meningitis and delayed the
18
     diagnosis and provision of proper medical care.
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            21.        Defendants breached their duty and were negligent where they failed to
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     comply with the standard of care, as described above and in other respects as well.
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            22.        As a direct and proximate result of these and other breaches, Plaintiff Damilola
22
     Adekunle suffered and continues to suffer from ongoing health complications associated with
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 1   the delayed diagnosis of her meningitis and resulting sepsis.

 2           23.        As a direct and proximate result of these and other breaches, Plaintiff Damilola

 3   Adekunle suffered and continues to suffer general and special damages in an amount to be

 4   proven at trial.

 5           24.        As a direct and proximate result of these and other breaches, Damilola’s

 6   husband, Plaintiff Fayah Tolno, suffered and continues to suffer loss of spousal consortium

 7   due to his wife’s injuries.

 8                                      VI. ARBITRATION (MED MAL)

 9           25.        Undersigned counsel declares that they provided the Plaintiff in this matter

10   with a copy of RCW 7.70A; however, Plaintiff elected not to submit the matter to arbitration

11   under that chapter, given that the damages in this case greatly exceed the $1 million cap

12   imposed by RCW 7.70A.060(2).

13                                       VII.    PRAYER FOR RELIEF

14           WHEREFORE, Plaintiffs request a judgment against the Defendants:

15           (a)        Awarding general and special damages in an amount to be proven at trial;

16           (b)        Awarding reasonable attorneys’ fees and costs;

17           (c)        Awarding any and all applicable interest on the judgment;

18           (d)        Awarding such other and further relief as the Court deems just and proper

19                      under the circumstances of this case; and

20           (e)        Declaring the Defendants jointly and severally liable.

21

22   //

23   //

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 1          DATED this 5th day of January, 2021.

 2                                     CONNELLY LAW OFFICES, PLLC

 3
                                       By:_________________________________
 4                                        Matthew J. Wurdeman, WSBA No. 49940
                                          Samuel J. Daheim, WSBA No. 52746
 5                                        Jackson R. Pahlke, WSBA No. 52812
                                          Attorneys for Plaintiffs
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